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                                   US District Court Electronic Case Filing System
                                             District of Utah (Northern)
                                  CIVIL DOCKET FOR CASE #: 1:20-cv-00134-TC


 Prince et al v. Monsanto Company                                                       Date Filed: 10/20/2020
 Assigned to: Judge Tena Campbell                                                       Jury Demand: Plaintiff
 Cause: 28:1332 Diversity-Motor Vehicle Product Liability                               Nature of Suit: 355 Motor Vehicle Prod.
                                                                                        Liability
                                                                                        Jurisdiction: Diversity
 Plaintiff
 Spencer L. Prince                                                       represented by Kelly H. Macfarlane
                                                                                        KELLY H MACFARLANE PLLC
                                                                                        257 E 200 S STE 410
                                                                                        SALT LAKE CITY, UT 84111
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                                                                                        Fax: 801-315-1104
                                                                                        Email: kelly@macfarlanelegalworks.com
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED
 Plaintiff
 Tamara Prince                                                           represented by Kelly H. Macfarlane
                                                                                        (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED


 V.
 Defendant
 Monsanto Company


  Date Filed            # Docket Text
  10/20/2020           1 Case has been indexed and assigned to Judge Tena Campbell. Plaintiffs Spencer L. Prince
                         and Tamara Prince are directed to E-File the Complaint and cover sheet (found under
                         Complaints and Other Initiating Documents) and pay the filing fee of $ 400.00 by the end of
                         the business day.
                         NOTE: The court will not have jurisdiction until the opening document is electronically
                         filed and the filing fee paid in the CM/ECF system.
                         Civil Summons may be issued electronically. Prepare the summons using the courts PDF
                         version and email it to utdecf_clerk@utd.uscourts.gov for issuance. (dw) (Entered:
                         10/20/2020)
  10/20/2020           2 COMPLAINT against Monsanto Corporation (Filing fee $ 400, receipt number AUTDC-
                         3765015) filed by Spencer L. Prince, Tamara Prince. (Attachments: # 1 Civil Cover Sheet

https://ecf.utd.uscourts.gov/cgi-bin/DktRpt.pl?124809236512848-L_1_0-1                                                            1/2
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                                                          CM/ECF         FiledCourt:utd
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                          for Product Liability Personal Injury) Assigned to Judge Tena Campbell (Macfarlane,
                          Kelly) Modified on 10/21/2020 to reflect complaint is filed against defendants rather than
                          plaintiff (dw). (Entered: 10/20/2020)
  10/21/2020           3 Modification of Docket: Error: Counsel filed complaint against All Plaintiffs instead of
                         Defendants. Correction: Docket text has been modified to reflect complaint is filed against
                         defendants rather than plaintiff; answer records corrected. re 2 Complaint,. (dw) (Entered:
                         10/21/2020)



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                                                                02/24/2021 14:57:35
                                    PACER Login: hllp1982                Client Code:   1417.0049
                                    Description:       Docket Report Search Criteria: 1:20-cv-00134-TC
                                    Billable Pages:    1                 Cost:          0.10




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Facsimile: (801) 323-9037
Attorneysfor Plaintiffs

                      IN THE UNITED STATES DISTRICT COURT
                         IN AND FOR THE DISTRICT OF UTAH

SPENCER L. PRINCE and TAMARA
PRINCE,                                                           SUMMONS

       Plaintiffs,

V.
                                                           Civil No. 1:20-cv-00134TC
MONSANTO COMPANY.
                                                              Judge Tena Campbell
       Defendant.



       You are hereby informed that a lawsuit has been filed against you. Within 21 days after

service of this summons (not counting the day you received it) — or 60 days if you are a United

States agency, or an officer or employee of the United States as described in Fed.R.Civ.P.

12(a)(2) or (3) — you must serve an answer to the attached complaint or a motion under Rule 12

of the Federal Rules of Civil Procedure on the plaintiff's attorney whose name and address are:

               Kelly H. Macfarlane, #5213
               257 East, 200 South, Suite 410
               Salt Lake City, Utah 84101

       If you fail to respond, judgment by default will be entered against you for the relief

demanded in the complaint. You must also file your answer or motion with the court.
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DATED this 19th day of February 2021.

                                  KELLY H. MACFARLANE, PLLC.


                                  /s/Kellv H. Macfarlane

                                  Kelly H. Macfarlane
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                      IN THE UNITED STATES DISTRICT COURT
                         IN AND FOR THE DISTRICT OF UTAH

SPENCER L. PRINCE and TAMARA                                      COMPLAINT
PRINCE,                                                                and
                                                                  JURY DEMAND
       Plaintiffs,

V.

MONSANTO COMPANY.
                                                           CivilNo.1:20-cv-00134TC
       Defendant.
                                                            Judge Tena Campbell



       Comes now, Plaintiffs, Spencer L. Prince and Tamara Prince, by and through their

undersigned counsel, files this Complaint at Law for Money Damages and Demand for Jury Trial

against the Defendant, Monsanto Company and alleges as follows:

                                          INTRODUCTION

        1.      In 1970, Defendant Monsanto Company, Inc. ("Monsanto") discovered the

 herbicidal properties of glyphosate and began marketing it in products in 1974 under the brand

 name Roundup®. Roundup® is a non-selective herbicide used to kill weeds that commonly

 compete with the growing of crops. In addition to the active ingredient glyphosate, Roundup®

 contains the surfactant Polyethoxylated tallow amine (POEA) and/or adjuvants and other so-

 called "inert" ingredients. In 2001, glyphosate was the most-used pesticide active ingredient in
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American agriculture with 85-90 million pounds used annually. That number grew to 185

million pounds in 2007. As of 2013, glyphosate was the world's most widely used herbicide.

        2.      Monsanto is a multinational agricultural biotechnology corporation based in
                St.

Louis, Missouri, and incorporated in Delaware. It is the world's leading producer of

glyphosate. As of 2009, Monsanto was the world's leading producer of seeds, accounting for

27% of the world seed market. The majority of these seeds are of the Roundup Ready® brand.

The stated advantage of Roundup Ready® crops is that they substantially improve a farmer's

ability to control weeds, because glyphosate can be sprayed in the fields during the growing

season without harming the crops. In 2010, an estimated 70% of corn and cotton and 90% of

soybean fields in the United States were Roundup Ready®.

        3.      Monsanto's glyphosate products are registered in 130 countries and approved

for use on over 100 different crops. They are ubiquitous in the environment. Numerous studies

confirm that glyphosate is found in rivers, streams, and groundwater in agricultural areas where

Roundup® is used. It has been found in food, in the urine of agricultural workers, and even in the

urine of urban dwellers who are not in direct contact with glyphosate.

        4.       On March 20, 2015, the International Agency for Research on Cancer

("IARC"), an agency of the World Health Organization ("WHO"), issued an evaluation of several

herbicides, including glyphosate. That evaluation was based, in part, on studies of exposures to

glyphosate in several countries around the world, and it traces the health implications from exposure to

glyphosate since 2001.

        5.       On July 29, 2015, IARC issued the formal monograph relating to glyphosate.

In that monograph, the IARC Working Group provides a thorough review of the numerous




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studies and data relating to glyphosate exposure in humans.

       6.       The IARC Working Group classified glyphosate as a Group 2A herbicide,

which means that it is probably carcinogenic to humans. The IARC Working Group concluded

that the cancers most associated with glyphosate exposure are non-Hodgkin lymphoma and

other haematopoietic cancers, including lymphocytic lymphoma / chronic lymphocytic

leukemia, B-cell lymphoma, and multiple myeloma.

       7.       The IARC evaluation is significant. It confirms what has been believed for

years: that glyphosate is toxic to humans.

       8.       Nevertheless, Monsanto, since it began selling Roundup®, has represented it

as safe to humans and the environment. Indeed, Monsanto has repeatedly proclaimed and

continues to proclaim to the world, and particularly to United States consumers, that

glyphosate-based herbicides, including Roundup®, create no unreasonable risks to human

health or to the environment.



        9.      Federal diversity jurisdiction in this Court is proper under 28 U.S.C. § 1332

because Plaintiff is a citizen of Utah, a different state than the Defendant's states of citizenship

(Missouri and Delaware), and the aggregate amount in controversy exceeds $75,000, exclusive

of interest and costs.

        10.     This Court has personal jurisdiction over the parties in the action by the fact

that the Defendant, Monsanto Company, has authorization to conduct business in Utah and has

availed itself to the laws and markets of Utah through promotion, marketing, distribution and

sale of Roundup® to Utah residents.

        11.     In addition, Monsanto maintains sufficient contacts with the State of Utah such


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that this Court's exercise of personal jurisdiction over it does not offend traditional notions of

fair play and substantial justice.

        12.     Venue is proper within this District under 28 U.S.C. § 1391(b)(2) because

Plaintiff was exposed to Roundup® in this District and has obtained medical treatment in this

District for cancer caused by PlaintifPs exposure to Roundup®.



        13.     The Plaintiff Spencer L. Prince is a citizen of Utah and resides in Kaysville,

Utah. He was exposed to Roundup® in or around Utah from around 1990 through 2014. He

was diagnosed with NHL in Utah in 2008.

        14.     The Plaintiff Tamara Prince is a citizen of Utah and resides in Kaysville, Utah.

She has been Plaintiff Spencer L. Prince's legally married wife at all times relevant to this

complaint.

        15.    The Defendant Monsanto is a Delaware corporation with its headquarters and

principal place of business in St. Louis, Missouri.

        16.    At all times relevant to this complaint, Monsanto was the entity that discovered

the herbicidal properties of glyphosate and the manufacturer of Roundup®, which contains the

active ingredient glyphosate and the surfactant POEA, as well as adjuvants and other "inert"

ingredients.



        17.    Glyphosate is a broad-spectrum, non-selective herbicide used in a wide variety

of herbicidal products around the world.

       18.     Plants treated with glyphosate translocate the systemic herbicide to their roots,

shoot regions, and fruit, where it interferes with the plant's ability to form aromatic amino acids


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necessary for protein synthesis. Treated plants generally die within two to three days. Because plants

absorb glyphosate, it cannot be completely removed by washing or peeling produce or by milling,

baking, or brewinggrains.

        19.     For nearly 40 years, farms across the world have used Roundup® without

knowing the dangers that its use poses. That is because when Monsanto first introduced

Roundup®, it touted glyphosate as a technological breakthrough: it could kill almost every

weed without causing harm either to people or to the environment. Of course, history has

shown that not to be true. According to the WHO, the main chemical ingredient of

Roundupg--glyphosate—is a probable cause of cancer. Those most at risk are farm workers

and other individuals with workplace exposure to Roundup®, such as garden center workers,

nursery workers, and landscapers. Agricultural workers are, once again, victims of corporate

greed. Monsanto assured the public that Roundup® was harmless. In order to prove this,

Monsanto has championed falsified data and has attacked legitimate studies that revealed

Roundup®'s dangers. Monsanto has led a prolonged campaign of misinformation to convince

government agencies, farmers and the general population that Roundup® is safe.

                 The Discovery of Glyphosate and Development ofRoundup®

        20.     The herbicidal properties of glyphosate were discovered in 1970 by Monsanto

chemist John Franz. The first glyphosate-based herbicide was introduced to the market in the

mid- 1970s under the brand name Roundup®.10 From the outset, Monsanto marketed

Roundup® as a"safe" general-purpose herbicide for widespread commercial and consumer

use. It still markets Roundup® as safe today.

        21.     In addition to the active ingredient glyphosate, Roundup® formulations also

contain adjuvants and other chemicals, such as the surfactant POEA, which are considered


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"inert" and therefore protected as "trade secrets" in manufacturing. Growing evidence

suggests that these adjuvants and additional components of Roundup® formulations are not, in fact,

inert and are toxic in their own right.

                            Registration of Herbicides under Federal Law

        22.      The manufacture, formulation, and distribution of herbicides, such as

Roundup®, are regulated under the Federal Insecticide, Fungicide, and Rodenticide Act

("FIFRA" or "Act"), 7

U.S.C. § 136 et seq. FIFRA requires that all pesticides be registered with the Environmental

Protection Agency ("EPA" or "Agency") prior to their distribution, sale, or use, except as

described by the Act. 7 U.S.C. § 136a(a).

        23.      Because pesticides are toxic to plants, animals, and humans, at least to some

degree, the EPA requires as part of the registration process, among other things, a variety of

tests to evaluate the potential for exposure to pesticides, toxicity to people and other potential

non-target organisms, and other adverse effects on the environment. Registration by the EPA,

however, is not an assurance or finding of safety. The determination the Agency must make in

registering or re- registering a product is not that the product is "safe," but rather that use of

the product in accordance with its label directions "will not generally cause unreasonable

adverse effects on the environment." 7 U.S.C. § 136a(c)(5)(D).

        24.      FIFRA defines "unreasonable adverse effects on the environment" to mean

"any unreasonable risk to man or the environment, taking into account the economic, social,

and environmental costs and benefits of the use of any pesticide." 7 U.S.C. § 136(bb). FIFRA

thus requires EPA to make a risk/benefit analysis in determining whether a registration should

be granted or a pesticide allowed to continue to be sold in commerce.



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        25.     The EPA and the State of California registered Roundup® for distribution, sale,

and manufacture in the United States and the State of California.

        26.     FIFRA generally requires that the registrant, Monsanto in the case of

Roundup®, conducts the health and safety testing of pesticide products. The EPA has protocols

governing the conduct of tests required for registration and the laboratory practices that must be

followed in conducting these tests. The data produced by the registrant must be submitted to the EPA

for review and evaluation. The government is not required, nor is it able, however, to perform the

product tests that are required of themanufacturer.

        27.     The evaluation of each pesticide product distributed, sold, or manufactured is

completed at the time the product is initially registered. The data necessary for registration of a

pesticide has changed over time. The EPA is now in the process of re-evaluating all pesticide

products through a Congressionally mandated process called "re-registration." 7 U.S.C. §

136a-1. In order to reevaluate these pesticides, the EPA is demanding the completion of

additional tests and the submission of data for the EPA's recent review andevaluation.

        28.     In the case of glyphosate, and therefore Roundup®, the EPA had planned on

releasing its preliminary risk assessment—in relation to the reregistration process—no later

than July 2015. The EPA completed its review of glyphosate in early 2015, but it delayed

releasing the risk assessment pending further review considering the WHO's health-related

findings.

            Scientific Fraud Underlying the Marketing and Sale of GlyphosatelRoundup®

        29.     Based on early studies showing that glyphosate could cause cancer in

laboratory animals, the EPA originally classified glyphosate as possibly carcinogenic to

humans (Group C) in 1985. After pressure from Monsanto, including contrary studies it



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provided to the EPA, the EPA changed its classification to evidence of non-carcinogenicity in

humans (Group E) in 19 91. In so classifying glyphosate, however, the EPA made clear that

the designation did not mean the chemical does not cause cancer: "It should be emphasized,

however, that designation of an agent in Group E is based on the available evidence at the time

of evaluation and should not be interpreted as a definitive conclusion that the agent will not be a

carcinogen under any circumstances."

        30.     On two occasions, the EPA found that the laboratories hired by Monsanto to test

the toxicity of its Roundup® products for registration purposes committed fraud.

        31.     In the first instance, Monsanto, in seeking initial registration of Roundup® by

the EPA, hired Industrial Bio-Test Laboratories ("IBT") to perform and evaluate pesticide

toxicology studies relating to Roundup®. IBT performed about 30 tests.on glyphosate and

glyphosate- containing products, including nine of the 15 residue studies needed to register

Roundup®.

        32.     In 1976, the United States Food and Drug Administration ("FDA") perfonned

an inspection of IBT that revealed discrepancies between the raw data and the final report

relating to the toxicological impacts of glyphosate. The EPA subsequently audited IBT; it too

found the toxicology studies conducted for the Roundup® herbicide to be invalid. An EPA

reviewer stated, after finding "routine falsification of data" at IBT, that it was "hard to believe

the scientific integrity of the studies when they said they took specimens of the uterus from

malerabbits."

        33.     Three top executives of IBT were convicted of fraud in 1983.

        34.     In the second incident of data falsification, Monsanto hired Craven Laboratories

in 1991 to perform pesticide and herbicide studies, including for Roundup®. In that same year,


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the owner of Craven Laboratories and three of its employees were indicted, and later

convicted, of fraudulent laboratory practices in the testing of pesticides and herbicides.

        35.      Despite the falsity of the tests that underlie its registration, within a few years of

its launch, Monsanto was marketing Roundup® in 115 countries.

              The Importance of Roundup® to Monsanto's Market Dominance Profits

        36.      The success of Roundup® was key to Monsanto's continued reputation and

dominance in the marketplace. Largely due to the success of Roundup® sales, Monsanto's

agriculture division was outperforming its chemicals division's operating income, and that

gap increased yearly. But with its patent for glyphosate expiring in the United States in the year2000,

Monsanto needed a strategy to maintain its Roundup® market dominance and to ward off impending

competition.

        37.      In response, Monsanto began the development and sale of genetically

engineered Roundup Ready® seeds in 1996. Since Roundup Ready® crops are resistant to

glyphosate, farmers can spray Roundup® onto their fields during the growing season without

harming the crop. This allowed Monsanto to expand its market for Roundup® even further; by

2000, Monsanto's biotechnology seeds were planted on more than 80 million acres worldwide

and nearly 70% of American soybeans were planted from Roundup Ready® seeds. It also

secured Monsanto's dominant share of the glyphosate/Roundup® market through a marketing

strategy that coupled proprietary Roundup Ready® seeds with continued sales of its

Roundup® herbicide.

        38.      Through a three-pronged strategy of increasing production, decreasing prices,

and by coupling with Roundup Ready® seeds, Roundup® became Monsanto's most profitable

product. In 2000, Roundup® accounted for almost $2.8 billion in sales, outselling other


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herbicides by a margin of five to one, and accounting for close to half of Monsanto's revenue.

Today, glyphosate remains one of the world's largest herbicides by sales volume.

        Monsanto has known for decades that itfalsely advertises the safety ofRoundup®
       39.        In 1996, the New York Attorney General ("NYAG") filed a lawsuit against

Monsanto based on its false and misleading advertising of Roundup® products. Specifically,

the lawsuit challenged Monsanto's general representations that its spray-on glyphosate-based

herbicides, including Roundup®, were "safer than table salt" and "practically non-toxic" to

mammals, birds, and fish. Among the representations the NYAG found deceptive and

misleading about the human and environmental safety of glyphosate and/or Roundup® are the

following:

             a)        "Remember that environmentally friendly Roundup
                        herbicide is biodegradable. It won't build up in the soil so you
                        can use Roundup with confidence along customers'
                        driveways, sidewalks and fences ..."

             b)        "And remember that Roundup is biodegradable and won't
                        build up in the soil. That will give you the environmental
                        confidence you need to use Roundup everywhere you've
                        got a weed, brush, edging or trimming problem."

             c)        "Roundup biodegrades into naturally occurring elements."

             d)        "Remember that versatile Roundup herbicide stays where
                        you put it. That means there's no washing or leaching to
                        harm customers' shrubs or other desirable vegetation."

             e)        "This non-residual herbicide will not wash or leach in the
                        soil. It ... stays where you apply it."

             f)        "You can apply Accord with `confidence because it will
                        stay where you put it' it bonds tightly to soil particles,
                        preventing leaching. Then, soon after application, soil
                        microorganisms biodegrade Accord into natural
                        products."



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             g)        "Glyphosate is less toxic to rats than table salt following
                        acute oral ingestion."

             h)        "Glyphosate's safety margin is much greater than
                        required. It has over a 1,000-fold safety margin in food
                        and over a 700-fold safety margin for workers who
                        manufacture it or use it."

             i)        "You can feel good about using herbicides by Monsanto.
                        They carry a toxicity category rating of `practically non-
                        toxic' as it pertains to mammals, birds and fish."

             j)        "Roundup can be used where kids and pets will play and
                        breaks down into natural material:" This ad depicts a
                        person with his head in the ground and a pet dog standing
                        in an area which has been treated with Roundup.

       40.        On November 19, 1996, Monsanto entered into an Assurance of

Discontinuance with NYAG, in which Monsanto agreed, among other things, "to cease and

desist from publishing or broadcasting any advertisements [in New York] that represent,

directly or by implication"that:

                  a)    its glyphosate-containing pesticide products or any
                        component thereof are safe, non-toxic, harmless or free
                        from risk.

                  b)    its glyphosate-containing pesticide products or any
                        component thereof manufactured, formulated, distributed
                        or sold by Monsanto are biodegradable.

                  c)    its glyphosate-containing pesticide products or any
                        component thereof stay where they are applied under all
                        circumstances and will not move through the
                        environment by any means.

                  d)    its glyphosate-containing pesticide products or any
                        component thereof are "good" for the environment or are
                        "known for their environmental characteristics."

                  e)    glyphosate-containing pesticide products or any
                        component thereof are safer or less toxic than common
                        consumer products other than herbicides;


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               f)      its glyphosate-containing products or any component
                       thereof might be classified as "practicallynon-toxic."

       41.     Monsanto did not alter its advertising in the same manner in any state other

than New York, and on information and belief it still has not done sotoday.

       42.     In 2009, France's highest court ruled that Monsanto had not told the truth about

the safety of Roundup®. The French court affirmed an earlier judgement that Monsanto had

falsely advertised its herbicide Roundup® as "biodegradable" and that it "left the soil clean."

                          Classifications and Assessrnents of Glyphosate

       43.     The IARC process for the classification of glyphosate followed IARC's

stringent procedures for the evaluation of a chemical agent. Over time, the IARC Monograph

program has reviewed 980 agents. Of those reviewed, it has determined 116 agents to be

Group 1(Known Human Carcinogens); 73 agents to be Group 2A (Probable Human

Carcinogens); 287 agents to be Group 2B (Possible Human Carcinogens); 503 agents to be

Group 3(Not Classified); and one agent to be Probably Not Carcinogenic. The established

procedure for IARC Monograph evaluations is described in the IARC Programme's Preamble.

Evaluations are performed by panels of international experts, selected on the basis of their

expertise and the absence of actual or apparent conflicts ofinterest.

       44.     The Monograph meeting is announced one year ahead of time to allow for a

call both for data and experts. Eight months before the Monograph meeting, the Working Group

membership is selected and the sections of the Monograph are developed by the Working

Group members. One month prior to the Monograph meeting, the call for data is closed and

the various draft sections are distributed among Working Group members for review and

comment. Finally, at the Monograph meeting, the Working Group finalizes review of all


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literature, evaluates the evidence in each category, and completes the overall evaluation.

Within two weeks after the Monograph meeting, the summary of the Working Group findings

are published in The Lancet Oncology, and within a year after the meeting, the finalized

Monograph is published.

       45.     In assessing an agent, the IARC Working Group reviews the following
               information:

       (a)     human, experimental, and mechanistic data;

       (b)     all pertinent epidemiological studies and cancer bioassays; and

       (c)     representative mechanistic data. The studies must be publicly available and

               have sufficient detail for meaningful review, and reviewers cannot be associated

               with the underlying study.

       46.     In March 2015, IARC reassessed glyphosate. The summary published in The

Lancet Oncology reported that glyphosate is a Group 2A agent and probably carcinogenic in

humans.

       47.     On July 29, 2015, IARC issued its Monograph for glyphosate, Monograph
               Volume

112. For Volume 112, a Working Group of 17 experts from 11 countries met at IARC from

March 3-10, 2015 to assess the carcinogenicity ' of certa.in herbicides, including glyphosate.

The March

meeting culminated a nearly one-year review and preparation by the IARC Secretariat and the

Working Group, including a comprehensive review of the latest available scientific evidence.

According to published procedures, the Working Group considered "reports that have been

published or accepted for publication in the openly available scientific literature" as well as

"data from governmental reports that are publicly available."


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       48.     The studies considered the following exposure groups: (1) occupational

exposure of farmers and tree nursery workers in the United States, forestry workers in Canada

and Finland and municipal weed-control workers in the United Kingdom; and (2) para-

occupational exposure in farming families.

       49.     Glyphosate was identified as the second-most used household herbicide in the

United States for weed control between 2001 and 2007 and the most heavily used herbicide in

the world in 2012.

       50.     Exposure pathways are identified as air (especially during spraying), water, and

food. Community exposure to glyphosate is widespread and found in soil, air, surface water,

and groundwater, as well as in food.

       51.     The assessment of the IARC Working Group identified several case control

studies of occupational exposure in the United States, Canada, and Sweden. These studies

show a human health concern from agricultural and other work-related exposure to glyphosate.

       52.     The IARC Working Group found an increased risk between exposure to

glyphosate and NHL and several subtypes of NHL, and the increased risk persisted after

adjustment for other pesticides.

       53.     The IARC Working Group also found that glyphosate caused DNA and

chromosomal damage in human cells. One study in community residents reported increases in

blood markers of chromosomal damage (micronuclei) after glyphosate formulations were

sprayed.   In male CD-1 mice, glyphosate induced a positive trend in the incidence of a rare

tumor: renal tubule carcinoma. A second study reported a positive trend for haemangiosarcoma

in male mice. Glyphosate increased pancreatic islet-cell adenoma in male rats in two studies.

A glyphosate formulation promoted skin tumors in an initiation-promotion study in mice.


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       54.       The IARC working Group also noted that glyphosate has been detected in the

urine of agricultural workers, indicating absorption. Soil microbes degrade glyphosate to

aminomethylphosphoric acid (AMPA). Blood AMPA detection after exposure suggests

intestinal microbial metabolism in humans.

       55.       The IARC Working Group further found that glyphosate and glyphosate

formulations induced DNA and chromosomal damage in mammals, and in human and animal

cells inutero.

       56.       The IARC Working Group also noted genotoxic, hormonal, and enzymatic

effects in mammals exposed to glyphosate. Essentially, glyphosate inhibits the biosynthesis of

aromatic amino acids, which leads to several metabolic disturbances, including the inhibition of

protein and secondary product biosynthesis and general metabolic disruption.

       57.       The IARC Working Group also reviewed an Agricultural Health Study,

consisting of a prospective cohort of 57,311 licensed pesticide applicators in Iowa and North

Carolina. While this study differed from others in that it was based on a self-administered

questionnaire, the results support an association between glyphosate exposure and Multiple

Myeloma, Hairy Cell Leukemia (HCL), and Chronic Lymphocytic Leukemia (CLL), in

addition to several other cancers.

       58.       The EPA has a technical fact sheet, as part of its Drinking Water and Health,

National Primary Drinking Water Regulations publication, relating to glyphosate. This

technical fact sheet predates IARC's March 20, 2015 evaluation. The fact sheet describes the

release patterns for glyphosate as follows:

                                            Release Patterns
                        Glyphosate is released to the environment in its use as a
                 herbicide for controlling woody and herbaceous weeds on


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                forestry, right-of-way, cropped and non-cropped sites. These
                sites may be around water and in wetlands.

                       It may also be released to the environment during its
                manufacture, formulation, transport, storage, disposal and
                cleanup, and from spills. Since glyphosate is not a listed
                chemical in the Toxics Release Inventory, data on releases
                during its manufacture and handling are not available.

                       Occupational workers and home gardeners may be
                exposed to glyphosate by inhalation and dermal contact during
                spraying, mixing, and cleanup. They may also be exposed by
                touching soil and plants to which glyphosate was applied.
                Occupational exposure may also occur during glyphosate's
                manufacture, transport storage, and disposal.

        59.     In 1995, the Northwest Coalition for Alternatives to Pesticides reported that in

California, the state with the most comprehensive program for reporting of pesticide-caused

illness, glyphosate, was the third most commonly-reported cause of pesticide illness among

agricultural workers.

                             The Toxicity of Other Ingredients in Roundup®

        60.    In addition to the toxicity of the active ingredient, glyphosate, several studies

support the hypothesis that the glyphosate-based formulation in Defendant's Roundup®

products is more dangerous and toxic than glyphosate alone. Indeed, as early as 1991,

available evidence demonstrated that glyphosate formulations were significantly more toxic

than glyphosate by itself.

       61.     In 2002, a study by Julie Marc, entitled "Pesticide Roundup Provokes Cell

Division Dysfunction at the Level of CDK1/Cyclin B Activation," revealed that Roundup®

causes delays in the cell cycles of sea urchins but that the same concentrations of glyphosate

alone were ineffective and did not alter cell cycles.




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         62.    A 2004 study by Marc and others, entitled "Glyphosate-based pesticides

affect cell cycle regulation," demonstrated a molecular link between glyphosate-based products and

cell cycle dysregulation. The researchers noted that "cell-cycle dysregulation is a hallmark of tumor

cells and human cancer. Failure in the cell-cycle checkpoints leads genomic instability and

subsequent development of cancers from the initial affected cell." Further, "[s]ince cell cycle

disorders such as cancer result from dysfunction of a unique cell, it was of interest to evaluate the

threshold dose of glyphosate affecting the cells."

        63.     In 2005, a study by Francisco Peixoto, entitled "Comparative effects of the

Roundup and glyphosate on mitochondrial oxidative phosphorylation," demonstrated that

Roundup®'s effects on rat liver mitochondria are far more toxic than equal concentrations of

glyphosate alone. The Peixoto study further suggested that the harmful effects of Roundup®

on mitochondrial bioenergetics could not be exclusively attributed to glyphosate but could be

the result of other chemicals, such as the surfactant POEA, or in the alternative, due to a

potential synergic effect between glyphosate and other ingredients in the Roundup®

formulation.

        64.     In 2009, Nora Benachour and Gilles-Eric Seralini published a study examining

the effects of Roundup® and glyphosate on human umbilical, embryonic, and placental cells.

The study tested dilution levels of Roundup® and glyphosate that were far below agricultural

recommendations, corresponding with low levels of residue in food. The researchers

ultimately concluded that supposed "inert" ingredients, and possibly POEA, alter human cell

permeability and amplify toxicity of glyphosate alone. The researchers further suggested that

assessments of glyphosate toxicity should account for the presence of adjuvants or additional

chemicals used in the formulation of the complete pesticide. The study confirmed that the




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adjuvants present in Roundup® are not, in fact, inert and that Roundup® is potentially far

more toxic than its active ingredient glyphosate alone.

           65.   The results of these studies were at all times available to Defendant. Defendant
knew or should have known that Roundup® is more toxic than glyphosate alone and that

safety studies of Roundup®, Roundup's adjuvants and "inert" ingredients, and/or the

surfactant POEA were necessary to protect Plaintiff from Roundup®.

           66.   Despite its knowledge that Roundup® is considerably more dangerous than

glyphosate alone, Defendant continued to promote Roundup® as safe.

                        Recent Worldwide Bans on Roundup®/Glyphosate

           67.   Several countries around the world have instituted bans on the sale of

Roundup® and other glyphosate-containing herbicides, both before and since IARC first

announced its assessment for glyphosate in March 2015, and more countries undoubtedly will

follow suit as the dangers of the use of Roundup® become more widely known. The

Netherlands issued a ban on all glyphosate-based herbicides in April 2014, including

Roundup®, which will take effect by the end of 2015. In issuing the ban, the Dutch Parliament

member who introduced the successful legislation stated: "Agricultural pesticides in user-

friendly packaging are sold in abundance to private persons. In garden centers, Roundup® is

promoted as harmless, but unsuspecting customers have no idea what the risks of this product

are. Especially children are sensitive to toxic substances and should therefore not be exposed

to it."

           68.   The Brazilian Public Prosecutor in the Federal District requested that the

Brazilian Justice Department suspend the use of glyphosate.

           69.   France banned the private sale of Roundup® and glyphosate following the



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IARC assessment for Glyphosate.

       70.     Bermuda banned both the private and commercial sale of glyphosates,

including Roundup®. The Bermuda government explained its ban as follows: "Following a

recent scientific study carried out by a leading cancer agency, the importation of weed spray

`Roundup' has been suspended."

       71.     The Sri Lankan government banned the private and commercial use of

glyphosate, particularly out of concern that glyphosate has been linked to fatal kidney disease

in agricultural workers.

       72.     The government of Colombia announced its ban on using Roundup® and

glyphosate to destroy illegal plantations of coca, the raw ingredient for cocaine, because of the

WHO's finding that glyphosate is probably carcinogenic.

                                      Proposition 65 Listing

       73.     On September 4, 2015, California's Office of Environmental Health Hazard

Assessment ("OEHHA") published a notice of intent to include glyphosate on the state's list

of known carcinogens under Proposition 65. California's Safe Drinking Water and Toxic

Enforcement Act of 1986 (informally known as "Proposition 65"), requires the state to

maintain and, at least once a year, revise and republish a list of chemicals "known to the State

of California to cause cancer or reproductive toxicity." The OEHHA determined that

glyphosate met the criteria for the listing mechanism under the Labor Code following IARC's

assessment of the chemical.

       74.     The listing process under the Labor Code is essentially automatic. The list of

known carcinogens, at a minimum, must include substances identified by reference in Labor

Code § 6382(b)(1). That section of the Labor Code identifies "[s]ubstances listed as human or


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animal carcinogens by the International Agency for Research on Cancer (IARC)." IARC's

classification of glyphosate as a Group 2A chemical ("probably carcinogenic to humans")

therefore triggered the listing.

        75.     A business that deploys a listed chemical in its products must provide "clear

and reasonable warnings" to the public prior to exposure to the chemical. To be clear and

reasonable, a warning must "(1) clearly communicate that the chemical is known to cause

cancer, and/or birth defects or other reproductive harm; and (2) effectively reach the person

before exposu"re." The law also prohibits the discharge of listed chemicals into drinking water.

        76.     Monsanto disputed the listing decision and, in January 2016, filed a lawsuit

against OEHHA and the agency's acting director, Lauren Zeise, in California state court,

seeking declaratory and injunctive relief to prevent OEHHA from listing glyphosate.

        77.     Monsanto alleged that OEHHA's exclusive reliance on the IARC decision

signified that "OEHHA effectively elevated the determination of an ad hoc committee of an

unelected, foreign body, which answers to no United States official (let alone any California

state official), over the conclusions of its own scientific experts." Monsanto further alleged

that the Labor Code listing mechanism presented various constitutional violations because it

"effectively empowers an unelected, undemocratic, unaccountable, and foreign body to make

laws applicable in California." Among other things, Monsanto argued that Proposition 65's

requirement to.. provide a"clear and reasonable warning" to consumers that the chemical is a

known carcinogen would damage its reputation and violate its First Amendment rights.

        78.     The case remains pending.

                               EFSA Report on Glyphosate
       79.      On November 12, 2015, the European Food Safety Authority (EFSA), the



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             ,,.




European Union's primary agency for food safety, reported on its evaluation of the Renewal

Assessment Report (RAR) on glyphosate. The Rapporteur Member State assigned to

glyphosate, the German Federal Institute for Risk Assessment (BfR), had produced the RAR as

part of the renewal process for glyphosate in the EU.

       80.     BfR sent its draft RAR to EFSA and the RAR underwent a peer review process

by EFSA, other member states, and industry groups. As part of the on-going peer review of

Germany's reevaluation of glyphosate, EFSA had also received a second mandate from the

European Commission to consider IARC's findings regarding the potential carcinogenicity

of

glyphosate and glyphosate-containing products.

       81.     Based on a review of the RAR, which included data from industry-submitted

unpublished studies, EFSA sent its own report ("Conclusion") to the European Commission,

finding that "glyphosate is unlikely to pose a carcinogenic hazard to humans and the evidence

does not support classification with regard to its carcinogenic potential according to

Regulation (EC) No 1272/2008." EFSA therefore disagreed with IARC: glyphosate was not

genotoxic and did not present a carcinogenic threat to humans.

       82.     In explaining why its results departed from IARC's conclusion, EFSA drew a

distinction between the EU and IARC approaches to the study and classification of chemicals.

Although IARC examined "both glyphosate—an active substance—and glyphosate-based

formulations, grouping all formulations regardless of their composition," EFSA explained that

it considered only glyphosate and that its assessment focuses on "each individual chemical, and

each marketed mixture separately." IARC, on the other hand, "assesses generic agents,

including groups of related chemicals, as well as occupational or environmental exposure, and


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cultural or behavioral practices." EFSA accorded greater weight to studies conducted with

glyphosate alone than studies of formulated products.

       83.     EFSA went further and noted (emphasis added):
               [A] lthough some studies suggest that certain glyphosate-based
               formulations may be genotoxic (i.e. damaging to DNA), others
               that look solely at the active substance glyphosate do not show
               this effect. It is likely, therefore, that the genotoxic effects
               observed in some glyphosate-based formulations are
               related to the other constituents or "coformulants".
               Similarly, certain glyphosate- based formulations display higher
               toxicity than that of the active ingredient, presumably because of
               the presence of co-formulants. In its assessment, EFSA proposes
               that the toxicity of each pesticide formulation and in
               particular its genotoxic potential should be further
               considered and addressed by Member State authorities
               while they re-assess uses of glyphosate-based formulations in
               their own territories.

       84.     Notwithstanding its conclusion, EFSA did set exposure levels for glyphosate.

Specifically, EFSA proposed an acceptable daily intake (ADI) of 0.5 mg/kg of body weight

per day; an acute reference dose (ARD) of 0.5 mg/kg of body weight; and an acceptable

operator exposure level (AOEL) of 0.1 mg/kg bw per day.

                         Leading Scientists Dispute EFSA's Conclusion

       85.     On November 27, 2015, 96 independent academic and governmental scientists

from around the world submitted an open letter to the EU health commissioner, Vytenis

Andriukaitis. The scientists expressed their strong concerns and urged the commissioner to

disregard the "flawed" EFSA report, arguing that "the BfR decision is not credible because it is

not supported by the evidence and it was not reached in an open and transparent manner."

       86.     Signatories to the letter included Dr. Christopher J. Portier, Ph.D., and other

renowned international experts in the field, some of whom were part of the IARC Working

Group assigned to glyphosate.


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        87.     In an exhaustive and careful examination, the scientists scrutinized EFSA's

conclusions and outlined why the IARC Working Group decision was "by far the more

credible":

                The IARC WG decision was reached relying on open and
                transparent procedures by independent scientists who completed
                thorough conflict-of-interest statements and were not affiliated
                or financially supported in any way by the chemical
                manufacturing industry. It is fully referenced and depends
                entirely on reports published in the open, peer-reviewed
                biomedical literature. It is part of a long tradition of deeply
                researched and highly credible reports on the carcinogenicity of
                hundreds of chemicals issued over the past four decades by
                IARC and used today by international agencies and regulatory
                bodies around the world as a basis for risk assessment,
                regulation and public health policy.
        88.      With respect to human data, the scientists pointed out that EFSA agreed with

IARC that there was "limited evidence of carcinogenicity" for non-Hodgkin lymphoma,

but EFSA nonetheless dismissed an association between glyphosate exposure and carcinogenicity.

IARC applies three levels of evidence in its analyses of human data, including sufficient evidence and

limited evidence. EFSA's ultimate conclusion that "there was no unequivocal evidence for a clear and

strong association of NHL with glyphosate" was misleading because it was tantamount to IARC's

highest level of evidence: "sufficient evidence," which means that a causal relationship has been

established. However, the scientists argued, "[1]egitimate public health concerns arise when `causality

is credible,' i.e., when there is limited evidence."

        89.      Among its many other deficiencies, EFSA's conclusions regarding animal

carcinogenicity data were "scientifically unacceptable," particularly in BfR's use of historical

control data and in its trend analysis. Indeed, BfR's analysis directly contradicted the

Organisation for Economic Co-operation and Development ("OECD") testing guidelines while

citing and purporting to follow those same guidelines. For instance, the EFSA report dismisses



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observed trends in tumor incidence "because there are no individual treatment groups that are

significantly different from controls and because the maximum observed response is reportedly

within the range of the historical control data." However, according to the scientists,

concurrent controls are recommended over historical controls in all guidelines, scientific

reports, and publications, and, if it is employed, historical control data "should be from studies

in the same timeframe, for the same exact animal strain, preferably from the same laboratory or

the same supplier and preferably reviewed by the same pathologist." BfR's use of historical

control data violated these precautions: "only a single study used the same mouse strain as the

historical controls, but was reported more than 10 years after the historical control dataset was

developed." Further deviating from sound scientific practices, the data used by the BfR came

from studies in seven different laboratories. The scientists concluded:

              BfR reported seven positive mouse studies with three studies
             showing increases in renal tumors, two with positive findings for
             hemangiosarcomas, and two with positive findings for malignant
             lymphomas. BfR additionally reported two positive findings for
             tumors in rats. Eliminating the inappropriate use of historical data,
             the unequivocal conclusion is that these are not negative studies, but in
             fact document the carcinogenicity of glyphosate in laboratory
             animals.

       90.     The letter also critiqued the EFSA report's lack of transparency and the opacity

surrounding the data cited in the report: "citations for almost all of the references, even those

from the open scientific literature, have been redacted from the document" and "there are no

authors or contributors listed for either document, a requirement for publication in virtually all

scientific journals." Because BfR relied on unpublished, confidential industry-provided

studies, it is "impossible for any scientist not associated with BfR to review this conclusion

with scientific confidence."



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       91.    On March 3, 2016, the letter was published in the Journal of Epidemiology &

Community Health.

               Statement of Concern Regarding GlyphosateBased Herbicides

       92.    On February 17, 2016, a consensus statement published in the journal

Environmental Health, entitled "Concerns over use of glyphosate-based herbicides and risks

associated with exposures: a consensus statement," assessed the safety of glyphosate-based

herbicides (GBHs). The paper's "focus is on the unanticipated effects arising from the

worldwide increase in use of GBHs, coupled with recent discoveries about the toxicity and

human health risks stemming from use of GBHs." The researchers drew seven factual

conclusions about GBHs:

              1.     GBHs are the most heavily applied herbicide in the
                     world and usage continues to rise;
              2.     Worldwide, GBHs often contaminate drinking water
                     sources, precipitation, and air, especially in agricultural
                     regions;
              3.     The half-life of glyphosate in water and soil is longer
                     than previously recognized;

              4.     Glyphosate and its metabolites are widely present in the
                     global soybean supply;

              5.     Human exposures to GBHs are rising;

              6.     Glyphosate is now authoritatively classified as a
                     probable human carcinogen; and

              7.     Regulatory estimates of tolerable daily intakes for
                     glyphosate in the United States and European Union are
                     based on outdated science.

       93.    The researchers noted that GBH use has increased approximately 100-fold

since the 1970s. Further, far from posing a limited hazard to vertebrates, as previously

believed, two decades of evidence demonstrated that "several vertebrate pathways are likely


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targets of action, including hepatorenal damage, effects on nutrient balance through glyphosate

chelating action and endocrine disruption."

        94.     The paper attributes uncertainties in current assessments of glyphosate

formulations to the fact that "[t]he full list of chemicals in most commercial GBHs is protected

as `commercial business information,' despite the universally accepted relevance of such

information to scientists hoping to conduct an accurate risk assessment of these herbicide

formulations." Further, the researchers argue, "[t]he distinction in regulatory review and

decision processes between `active' and `inert' ingredients has no toxicological justification,

given increasing evidence that several so-called `inert' adjuvants are toxic in their own right."

        95.     Among various implications, the researchers conclude that "existing

toxicological data and risk assessments are not sufficient to infer that GBHs, as currently used,

are safe." Further, "GBH- product formulations are more potent, or toxic, than glyphosate

alone to a wide array of non-target organisms including mammals, aquatic insects, and fish."

Accordingly, "risk assessments of GBHs that are based on studies quantifying the impacts of

glyphosate alone underestimate both toxicity and exposure, and thus risk." The paper concludes that

this "shortcoming has repeatedly led regulators to set inappropriately high exposure thresholds."

        96.     The researchers also critique the current practice of regulators who largely rely

on "unpublished, non-peer reviewed data generated by the registrants" but ignore "published

research because it often uses standards and procedures to assess quality that are different

from those codified in regulatory agency data requirements, which largely focus on avoiding

fraud." In the researchers' view, "[s]cientists independent of the registrants should conduct

regulatory tests of GBHs that include glyphosate alone, as well as GBH-productformulations."

        97.     The researchers also call for greater inclusion of GBHs in government-led
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toxicology testing programs:

               [A] fresh and independent examination of GBH toxicity should
               be undertaken, and ... this re-examination be accompanied by
               systematic efforts by relevant agencies to monitor GBH levels in
               people and in the food supply, none of which are occurring
               today. The U.S. National Toxicology Program should prioritize a
               thorough toxicological assessment of the multiple pathways now
               identified as potentially vulnerable to GBHs.

       98.     The researchers suggest that, in order to fill the gap created by an absence of

government funds to support research on GBHs, regulators could adopt a system through

which manufacturers fund the registration process and the necessary testing:

               "[W]e recommend that a system be put in place through which
               manufacturers of GBHs provide funds to the appropriate
               regulatory body as part of routine registration actions and fees.
               Such funds should then be transferred to appropriate government
               research institutes, or to an agency experienced in the award of
               competitive grants. In either case, funds would be made available
               to independent scientists to conduct the appropriate long-term
               (minimum 2 years) safety studies in recognized animal model
               systems. A thorough and modern assessment of GBH toxicity
               will encompass potential endocrine disruption, impacts on the
               gut microbiome, carcinogenicity, and multigenerational effects
               looking at reproductive capability and frequency of birth
               defects."

                    FDA Announces Testing of Glyphosate Residue in Foods

       99.     On February 17, 2016, the U.S. Food and Drug Administration ("FDA")

announced that, for the first time in its history, the agency planned to start testing certain foods

for glyphosate residues. FDA spokeswoman Lauren Sucher explained: "The agency is now

considering assignments for Fiscal Year 2016 to measure glyphosate in soybeans, corn, milk,

and eggs, among other potential foods."

       100.    In 2014, the U.S. Government Accountability Office (GAO) had severely

rebuked the FDA for its failures to both monitor for pesticide residue, including that of


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glyphosate, and to disclose the limitations of its monitoring and testing efforts to the public.

The GAO had cited numerous undisclosed deficiencies in the FDA's process, specifically

highlighting its omission of glyphosate testing.

       101.      Indeed, in the past, both the FDA and the U.S. Department of Agriculture

(USDA) had routinely excluded glyphosate from their testing for the residues of hundreds of

other pesticides, on the rationale that it was too expensive and unnecessary to protect public

health. Ms. Sucher, the FDA spokeswoman, however, now states that "the agency has

developed `streamlined methods' for testing for the weed killer."

       102.      The FDA's.move is significant as the agency possesses enforcement authority

and can seek action if pesticide residues exceed enforcement guidelines.

                          European Union Vote on Glyphosate Renewal
       103.      The license for glyphosate in the European Union (EU) was set to expire on

June 30, 2016.

       104.      Without an extension of the license, Monsanto's Roundup® and other

glyphosate- based herbicides faced a general phase out in EU markets.In the months leading

up to the license expiration date, protracted meetings and votes among national experts from

the 28 EU Member States failed to produce agreement on an extension.

       105.      For instance, on March 4, 2016, The Guardian reported that France, the

Netherlands, and Sweden did not support EFSA's assessment that glyphosate was harmless.

The paper quoted the Swedish environment minister, Asa Romson, as stating: "We won't take

risks with glyphosate and we don't think that the analysis done so far is good enough. We will

propose that no decision is taken until further analysis has been done and the EFSA scientists

have been more transparent about their considerations."



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       106.    The Netherlands argued that relicensing should be placed on hold until after a

separate evaluation of glyphosate's toxicity can be conducted. Leading up to the vote, Italy

joined the other EU states in opposing the license renewal, citing healthconcerns.

       107.    On June 6, 2016, Member States voted but failed to reach a qualified majority

in favor or against the re-authorization of glyphosate.

       108.    On June 29, 2016, the EU Commission extended the European license for

glyphosate for 18 months to allow the European Chemical Agency to rule on the safety of the

chemical, which is expected by the end of 2017.

       109.    On July 11, 2016, the EU voted in favor of a proposal to restrict the conditions

of use of glyphosate in the EU, including a ban on common co-formulant POE-tallowamine

(POEA) from all glyphosate-based herbicides, including Roundup.

       110.    These restrictions, which are non-binding on the EU states, are expected to

apply until the European Chemicals Agency issues an opinion on the chemical's safety.

                                Plaintiffs' Exposure to Roundup®


       111.    From approximately 1990 to 2014, Mr. Prince lived in Utah. He regularly used

Roundup® while maintaining his yard and garden at his home.

        112.   At all times relevant to this complaint, Tamara Prince was married to Plaintiff

Spencer L. Prince and lived with him in Utah.

        113.   In May of 2008, Mr. Prince was diagnosed with NHL, in Kaysville, Utah. Mr.

Prince underwent chemotherapy, radiation, and surgery and is currently in remission.

        114.   During the entire time that Mr. Prince was exposed to Roundup®, he did not

know that exposure to Roundup® was injurious to his health or the health ofothers.

        115.   Mr. Prince first learned that exposure to Roundup® can cause NHL and other


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serious illnesses sometime after January 2019.

       116.    Mrs. Prince suffered a significant loss of consortium with her husband due to

his diagnosis and treatment for NHL.

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       117.    Plaintiff had no way of knowing about the risk of serious illness associated with

the use of and/or exposure to Roundup® and glyphosate until reports surfaced in the lay press

in 2018 about the potential for Roundup® to cause NHL and other serious illness. In fact the

product is still on the market and Plaintiff had not heard or seen anything about a cancer risk

associated with the product until this year. Even now, Plaintiffls understanding is that the

manufacture does not admit that Roundup® causes or is associated with cancer. This is the

quintessential case fortolling.

       118.    Within the time period of any applicable statutes of limitations, Plaintiff could

not have discovered, through the exercise of reasonable diligence, that exposure to Roundup®

and glyphosate is injurious to human health.

       119.    Plaintiff did not discover, and did not know of facts that would cause a

reasonable person to suspect, the risks associated with the use of and/or exposure to Roundup®

and glyphosate; nor would a reasonable and diligent investigation by her have disclosed that

Roundup® and glyphosate would cause him illness.

        120.   For these reasons, all applicable statutes of limitations have been tolled by

operation of the discovery rule with respect to Plaintiffs claims.

                                  Fraudulent Concealment Tolling

        121.   All applicable statutes of limitations have also been tolled by Monsanto's



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knowing and active fraudulent concealment and denial of the facts alleged herein throughout the

time period relevant to this action Instead of disclosing critical safety information about

Roundup® and glyphosate, Monsanto has consistently and falsely represented the safety of its

Roundup® products.

                                            Estoppel

       122.    Monsanto was under a continuous duty to disclose to consumers, users and

other persons coming into contact with its products, including Plaintiff, accurate safety

information concerning its products and the risks associated with the use of and/or exposure to

Roundup® and glyphosate.

       123.    Instead, Monsanto knowingly, affirmatively, and actively concealed safety

information concerning Roundup® and glyphosate and the serious risks associated with the use

of and/or exposure to its products.

       124.    Based on the foregoing, Monsanto is estopped from relying on any statutes of

limitations in defense of this action.



                                      COUNTI
                          STRICT LIABILITY (DESIGN DEFECT)

       125.    Plaintiff incorporates by reference each and every allegation set forth in this

Complaint as if fully stated herein.

       126.    Plaintiff brings this strict liability claim against Defendant for defective design.

At all times relevant to this litigation, Defendant engaged in the business of testing,

developing, designing, manufacturing, marketing, selling, distributing, and promoting

Roundup® products, which are defective and unreasonably dangerous to consumers, users,



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and other persons coming into contact with them, including Plaintiff, thereby placing

Roundup® products into the stream of commerce. These actions were under the ultimate

control and supervision of Defendant.

       127.     At all times relevant to this litigation, Defendant designed, researched,

developed, formulated, manufactured, produced, tested, assembled, labeled, advertised,

promoted, marketed, sold, and distributed the Roundup® products used by the Plaintiff, and/or

to which the Plaintiff was exposed, as described above.

       128.     At all times relevant to this litigation, Defendant's Roundup® products were

manufactured, designed, and labeled in an unsafe, defective, and inherently dangerous manner

that was dangerous for use by or exposure to the public, and, in particular, thePlaintiff.

       129.     At all times relevant to this litigation, Defendant's Roundup® products reached

the intended consumers, handlers, and users or other persons coming into contact with these

products in Utah and throughout the United States, including Plaintiff, without substantial

change in their condition as designed, manufactured, sold, distributed, labeled, and marketed

by Defendant.

       130.     Defendant's Roundup® products, as researched, tested, developed, designed,

licensed, formulated, manufactured, packaged, labeled, distributed, sold, and marketed by

Defendant,.were defective in design and formulation in that when they left the hands of the

Defendant's manufacturers and/or suppliers, they were unreasonably dangerous because they

were not as safe as an ordinary consumer would expect when used in an intended or

reasonably foreseeablemanner.

        131.  Defendant's Roundup® products, as researched, tested, developed, designed,
licensed, formulated, manufactured, packaged, labeled, distributed, sold, and marketed by



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Defendant, were defective in design and formulation in that when they left the hands of

Defendant's manufacturers and/or suppliers, the foreseeable risks . associated with these

products' reasonably foreseeable uses exceeded the alleged benefits associated with their

design and formulation.

       132.   Therefore, at all times relevant to this litigation, Defendant's Roundup®

products, as researched, tested, developed, designed, licensed, manufactured, packaged,

labeled, distributed, sold and marketed by Defendant, were defective in design and

formulation, in one or more of the following ways:

              a.      When placed in the stream of commerce, Defendant's Roundup®

                      products were defective in design and formulation, and, consequently,

                      dangerous to an extent beyond that which an ordinary consumer would

                      expect.

              b.      When placed in the stream of commerce, Defendant's Roundup®

                      products were unreasonably dangerous in that they were hazardous and

                      posed a grave risk of cancer and other serious illnesses when used in a

                      reasonably anticipated manner.

              C.      When placed in the stream of commerce, Defendant's Roundup®

                      products contained unreasonably dangerous design defects and were not

                      reasonably safe when used in a reasonably anticipated or intended

                      manner.

              d.      Defendant did not sufficiently test, investigate, or study its Roundup®

                      products and, specifically, the active ingredient glyphosate.

               e.     Exposure to Roundup® and glyphosate-containing products presents a


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                         risk of harmful side effects that outweighs any potential utility

                         stemming from

                         the use of the herbicide.

              f.         Defendant knew or should have known at the time of marketing its

                         Roundup® products that exposure to Roundup® and specifically, its

                         active ingredient glyphosate, could result in cancer and other severe

                         illnesses and injuries.

              g.         Defendant did not conduct adequate post-marketing surveillance of its

                         Roundup® products.

                  h.     Defendant could have employed safer alternative designs and
                         formulations.

       133.   At all times relevant to this litigation, Plaintiff used and/or was exposed to the

use of Defendant's Roundup® products in an intended or reasonably foreseeable manner

without knowledge of their dangerous characteristics.

       134.       Plaintiff could not have reasonably discovered the defects and risks associated

with Roundup® or glyphosate-containing products before or at the time ofexposure.

       135.       The harm caused by Defendant's Roundup® products far outweighed their

benefit, rendering Defendant's products dangerous to an extent beyond that which an ordinary

consumer would contemplate. Defendant's Roundup® products were and are more dangerous

than alternative products and Defendant could have designed its Roundup® products to make

them less dangerous. Indeed, at the time that Defendant designed its Roundup® products, the

state of the industry's scientific knowledge was such that a less risky design or formulation

was attainable.



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       136.     At the time Roundup® products left Defendant's control, there was a practical,

technically feasible, and safer alternative design that would have prevented the harm without

substantially impairing the reasonably anticipated or intended function of Defendant's

Roundup® herbicides.

        137.    Defendant's defective design of Roundup® amounts to willful, wanton,

                and/or

reckless conduct by Defendant.


        138.    Therefore, as a result of the unreasonably dangerous condition of its Roundup®

products, Defendant is strictly liable to Plaintiff.

        139.    The defects in Defendant's Roundup® products were substantial and

contributing factors in causing Plaintiff's grave injuries, and, but for Defendant's misconduct

and omissions, Plaintiff would not have sustained his injuries.

        140.    As a direct and proximate result of Defendant placing its defective Roundup®

products into the stream of commerce, Plaintiffs have suffered and continue to suffer grave

irijuries, endured pain and discomfort, as well as economic hardship, including considerable

financial expenses for medical care and treatment. Plaintiffs will continue to incur these

expenses in the future.

        141.    Plaintiff Tamara Prince also suffered significant loss of consortium with her

husband Spencer L. Prince throughout this time and will continue to suffer these damages in

the future.

        142.    WHEREFORE, Plaintiffs respectfully reyuest that this Court enter judgment in

Plaintiffs' favor for compensatory and punitive damages, together with interest, costs herein




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incurred, attorneys' fees, and all such other and further relief as this Court deems just and

proper. Plaintiffs also demand a jury trial on the issues contained herein.



                                          COUNT II
                            STRICT LIABILITY (FAILURE TO
                                           WARN)
       143.    Plaintiff incorporates by reference each and every allegation set forth in this

Complaint as if fully stated herein.

       144.    Plaintiff brings this strict liability claim against Defendant for failure towarn.

       145.    At all times relevant to this litigation, Defendant engaged in the business of

testing, developing, designing, manufacturing, marketing, selling, distributing, and promoting

Roundup® products, which are defective and unreasonably dangerous to consumers, including

Plaintiff, because they do not contain adequate warnings or instructions concerning the

dangerous characteristics of Roundup® and specifically, the active ingredient glyphosate.

These actions were

under the ultimate control and supervision of Defendant.

        146.   Defendant researched, developed, designed, tested, manufactured, inspected,

labeled, distributed, marketed, promoted, sold, and otherwise released into the stream of

commerce its Roundup® products, and in the course of same, directly advertised or marketed

the products to consumers and end users, including Plaintiff, Plaintiffls employers, Plaintiff's

co- workers, and persons responsible for consumers (such as employers), and Defendant

therefore had a duty to warn of the risks associated with the reasonably foreseeable uses (and

misuses) of Roundup® and glyphosate-containing products and a duty to instruct on the

proper, safe use of these products.



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        147.    At all times relevant to this litigation, Defendant had a duty to properly test,

develop, design, manufacture, inspect, package, label, market, promote, sell, distribute,

maintain supply, provide proper warnings, and take such steps as necessary to ensure that its

Roundup® products did not cause users and consumers to suffer from unreasonable and

dangerous risks. Defendant had a continuing duty to warn Plaintiff of the dangers associated

with Roundup® use and exposure, and a continuing duty to instruct on the proper, safe use of

these products. Defendant, as manufacturer, seller, or distributor of chemical herbicides, is

held to the knowledge of an expert in thefield.

        148.    At the time of manufacture, Defendant could have provided warnings or

instructions regarding the full and complete risks of Roundup® and glyphosate-containing

products because it knew or should have known of the unreasonable risks of harm associated

with the use of and/or exposure to these products.

        149.    At all times relevant to this litigation, Defendant failed to investigate, study,

test, or promote the safety of its Roundup® products. Defendant also failed to minimize the

dangers to users and consumers of its Roundup® products and to those who would foreseeably

use or be harmed by Defendant's herbicides, including Plaintiff.

        150. Even though Defendant knew or should have known that Roundup® products

posed a grave risk of harm, it failed to warn of the dangerous risks associated with their use and

exposure. The dangerous propensities of its products and the carcinogenic characteristics of

glyphosate, as described above, were known to Defendant, or scientifically knowable to Defendant

through appropriate research and testing by known methods, at the time it distributed, supplied, or sold

the product, and not known to end users and consumers, such as Plaintiff.

        151.    Defendant knew or should have known that its Roundup® and glyphosate-



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containing products created significant risks of serious bodily harm to consumers, as alleged

herein, and Defendant failed to adequately warn consumers and reasonably foreseeable users

of the risks of exposure to these products. Defendant has wrongfully concealed information

concerning the dangerous nature of Roundup® and its active ingredient glyphosate, and further

made false and/or misleading statements concerning the safety of Roundup® and glyphosate.

       152.    At all times relevant to this litigation, Defendant's Roundup® products reached

the intended consumers, handlers, and users or other persons coming into contact with these

products throughout the United States, including Plaintiff, without substantial change in their

condition as designed, manufactured, sold, distributed, labeled, and marketed by Defendant.

       153.    At all times relevant to this litigation, Plaintiff used and/or was exposed to the

use of Defendant's Roundup® products in their , intended or reasonably foreseeable manner

without knowledge of their dangerous characteristics.

       154.    Plaintiff could not have reasonably discovered the defects and risks associated

with Roundup® or glyphosate-containing products before or at the time of Plaintiffl s exposure.

Plaintiff relied upon the skill, superior knowledge, and judgment of Defendant.

       155.    Defendant knew or should have known that the minimal warnings disseminated

with its Roundup® products were inadequate, but it failed to communicate adequate

information on the dangers and safe use/exposure and failed to communicate warnings and

instructions that were

appropriate and adequate to render the products safe for their ordinary, intended, and

reasonably foreseeable uses, including agricultural and horticultural applications.

       156.    The information that Defendant did provide or communicate failed to contain

relevant warnings, hazards, and precautions that would have enabled agricultural workers,


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horticultural workers and/or at-home users such as Plaintiff to utilize the products safely and

with adequate protection. Instead, Defendant disseminated information that was inaccurate,

false, and misleading and which failed to communicate accurately or adequately the

comparative severity, duration, and extent of the risk of injuries associated with use of and/or

exposure to Roundup® and glyphosate; continued to aggressively promote the efficacy of its

products, even after it knew or should have known of the unreasonable risks from use or

exposure; and concealed, downplayed, or otherwise suppressed, through aggressive marketing

and promotion, any information or research about the risks and dangers of exposure to

Roundup® and glyphosate.

        157.    To this day, Defendant has failed to adequately and accurately warn of the true

risks of Plaintiffls injuries associated with the use of and exposure to Roundup® and its active

ingredient glyphosate, a probable carcinogen.

        158.    As a result of their inadequate warnings, Defendant's Roundup® products were

defective and unreasonably dangerous when they left the possession and/or control of

Defendant, were distributed by Defendant, and used by Plaintiff.

        159.    Defendant is liable to Plaintiff for injuries caused by its failure, as described

above, to provide adequate warnings or other clinically relevant information and data

regarding the appropriate use of its Roundup® products and the risks associated with the use

of or exposure to Roundup® and glyphosate.

        160.    The defects in Defendant's Roundup® products were substantial and

contributing factors in causing Plaintiff's injuries, and, but for Defendant's misconduct and

omissions, Plaintiff would not have sustained his injuries.




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        161.   Had Defendant provided adequate warnings and instructions and properly

disclosed and disseminated the risks associated with its Roundup® products, Plaintiff could

have avoided the risk of developing injuries as alleged herein and Plaintiff could have

obtained alternative herbicides.

       162.    As a direct and proximate result of Defendant placing its defective Roundup®

products into the stream of commerce, Plaintiff has suffered and continues to suffer severe

injuries, and had endured physical pain and discomfort, as well as economic hardship,

including considerable financial expenses for medical care and treatment. Plaintiff will

continue to incur these expenses in the future.

        163. As a direct and proximate result of Defendant placing its defective Roundup®

products into the stream of commerce, Plaintiffs have suffered and continue to suffer grave

injuries, endured pain and discomfort, as well as economic hardship, including considerable

financial expenses for medical care and treatment. Plaintiffs will continue to incur these

expenses in the future.

        164. Plaintiff Tamara Prince also suffered significant loss of consortium with her

husband Spencer L. Prince throughout this time and will continue to suffer these damages in

the future

        165. WHEREFORE, Plaintiffs respectfully request that this Court enter judgment in

Plaintiffs' favor for compensatory and punitive damages, together with interest, costs herein

incurred, attorneys' fees, and all such other and further relief as this Court deems just and

proper. Plaintiffs also demand a jury trial on the issues containedherein.

                                        COUNT III
                                      NEGLIGENCE
        166. Plaintiff incorporates by reference each and every allegation set forth in this


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Complaint as if fully stated herein.

        167. Defendant, directly or indirectly, caused Roundup® products to be sold,

distributed, packaged, labeled, marketed, and/or promoted.

        168. Defendant, directly or indirectly, caused Roundup® products to be purchased

and/or used by Plaintiff.

        169. At all times relevant to this litigation, Defendant had a duty to exercise

reasonable care in the design, research, manufacture, marketing, advertisement, supply,

promotion, packaging, sale, and distribution of its Roundup® products, including the duty to

take all reasonable steps necessary to manufacture, promote, and/or sell a product that was not

unreasonably dangerous to consumers, users, and other persons coming into contact with the product.

        170. At all times relevant to this litigation, Defendant had a duty to exercise

reasonable care in the marketing, advertisement, and sale of its Roundup® products.

Defendant's duty of care owed to consumers and the general public included providing accurate,

true, and correct information concerning the risks of using Roundup® and appropriate,

complete, and accurate warnings concerning the potential adverse effects of exposure to

Roundup® and, in particular, its active ingredient glyphosate.

        171. At all times relevant to this litigation, Defendant knew or, in the exercise of

reasonable care, should have known of the hazards and dangers of Roundup® and specifically,

the carcinogenic properties of the chemical glyphosate.

        172. Accordingly, at all times relevant to this litigation, Defendant knew or, in the

exercise of reasonable care, should have known that use of or exposure to its Roundup®

products could cause Plaintiffls injuries and thus created a dangerous and unreasonable risk of

injury to the users of these products, including Plaintiff.



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        173. Defendant knew or, in the exercise of reasonable care, should have known that

Roundup® is more toxic than glyphosate alone and that safety studies on Roundup®,

Roundup®'s adjuvants and "inert" ingredients, and/or the surfactant POEA were necessary to

protect Plaintiff from Roundup®.

        174. Defendant knew or, in the exercise of reasonable care, should have known that

tests limited to Roundup's active ingredient glyphosate were insufficient to prove the safety of

Roundup®.

        175. Defendant also knew or, in the exercise of reasonable care, should have known

that users and consumers of Roundup® were unaware of the risks and the magnitude of the risks

associated with the use of and/or exposure to Roundup® and glyphosate-containing products.

        176. As such, Defendant breached its duty of reasonable care and failed to exercise

ordinary care in the design, research, development, manufacture, testing, marketing, supply,

promotion, advertisement, packaging, sale, and distribution of its Roundup® products, in that

Defendant manufactured and produced defective herbicides containing the chemical

glyphosate, knew or had reason to know of the defects inherent in its products, knew or had

reason to know that a user's or consumer's exposure to the products created a significant risk of

harm and unreasonably dangerous side effects, and failed to prevent or adequately warn of

these risks andinjuries.

        177. Defendant failed to appropriately and adequately test Roundup®, Roundup®'s

adjuvants and "inert" ingredients, and/or the surfactant POEA to protect Plaintiff from

Roundup®. Despite its ability and means to investigate, study, and test its products and to

provide adequate warnings, Defendant has failed to do so. Indeed, Defendant has wrongfully

concealed information and has further made false and/or misleading statements concerning the



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safety and/or exposure to Roundup® and glyphosate.

       178.   Defendant's negligence included:

              a      Manufacturing,       producing,   promoting,      formulating,    creating,

                     developing, designing, selling, and/or distributing its Roundup®

                     products without thorough and adequate pre- and post-market testing;

              h      Manufacturing, producing, promoting, formulating, creating,

                     developing, designing, selling, and/or distributing Roundup® while

                     negligently and/or intentionally concealing and failing to disclose the

                     results of trials, tests, and studies of exposure to glyphosate, and,

                     consequently, the risk of serious harm associated with human use of and

                     exposure to Roundup®;


              a      Failing to undertake sufficient studies and conduct necessary tests to

                     determine whether or not Roundup® products and glyphosate-

                     containing products were safe for their intended use in agriculture,

                     horticulture, and at- home use;

              d      Failing to undertake sufficient studies and conduct necessary tests to

                     determine the safety of "inert" ingredients and/or adjuvants contained

                     within Roundup®, and the propensity of these ingredients to render

                     Roundup® toxic, increase the toxicity of Roundup®, whether these

                     ingredients are carcinogenic, magnify the carcinogenic properties of

                     Roundup®, and whether or not "inert" ingredients and/or adjuvants

                     were safe for use;



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          e     Failing to use reasonable and prudent care in the design, research,

                manufacture, formulation, and development of Roundup® products so as

                to avoid the risk of serious harm associated with the prevalent use of

                Roundup®/glyphosate as an herbicide;

          £     Failing to design and manufacture Roundup® products so as to ensure

                they were at least as safe and effective as other herbicides on the market;

          g     Failing to provide adequate instructions, guidelines, and safety

                precautions to those persons who Defendant could reasonably foresee

                would use and/or be exposed to its Roundup® products;

          h     Failing to disclose to Plaintiff, users, consumers, and the general public

                that the use of and exposure to Roundup® presented severe risks of

                cancer and other grave illnesses;


          i.    Failing to warn Plaintiff, users, consumers, and the general public that

                the product's risk of hann was unreasonable and that there were safer

                and effective alternative herbicides available to Plaintiff and other users

                or consumers;

          j.    Systematically suppressing or downplaying contrary evidence about the

                risks, incidence, and prevalence of the side effects of Roundup® and

                glyphosate- containing products;

          k     Representing that its Roundup® products were safe for their intended

                use when, in fact, Defendant knew or should have known that the

                products were not safe for their intended use;


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                1      Declining to make or propose any changes to Roundup® products'

                       labeling or other promotional materials that would alert the consumers

                       and the general public of the risks of Roundup® and glyphosate;

                m      Advertising, marketing, and recommending the use of Roundup®

                       products, while concealing and failing to disclose or warn of the

                       dangers known by Defendant to be associated with or caused by the use

                       of or exposure to Roundup® and glyphosate;

                n      Continuing to disseminate information to its consumers, which indicate

                       or imply thatt Defendant's Rouridup® products are not unsafe for use in

                       the agricultural, horticultural industries, and/or home use; and

         179.          Continuing the manufacture and sale of its products with the knowledge

that the products were unreasonably unsafe and dangerous. Defendant knew and/or should

have known that it was foreseeable that consumers and/or users, such as Plaintiff, would suffer

injuries as a result of Defendant's failure to exercise ordinary care in the manufacturing,

marketing, labeling, distribution, and sale ofRoundup®.

         180. Plaintiff did not know the nature and extent of the injuries that could result

from the intended use of and/or exposure to Roundup® or its active ingredientglyphosate.

         181. Defendant's negligence was the proximate cause of the injuries, harm, and

economic losses that Plaintiff suffered, and will continue to suffer, as describedherein.

         182. Defendant's conduct, as described above, was reckless. Defendant regularly

risks the lives of consumers and users of its products, including Plaintiff, with full knowledge

of the dangers of its products. Defendant has made conscious decisions not to redesign, re-




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label, warn, or inform the unsuspecting public, including Plaintiff. Defendant's reckless

conduct therefore warrants an award of punitive damages.

         183. As a proximate result of Defendant's wrongful acts and omissions in placing its

defective Roundup® products into the stream of commerce without adequate warnings of the

hazardous and carcinogenic nature of glyphosate, Plaintiffs have suffered and continue to

suffer severe and permanent physical and emotional injuries. Plaintiffs have endured pain and

suffering, has suffered economic losses (including significant expenses for medical care and

treatment) andwill continue to incur these expenses in the future.

         184. Plaintiff Tamara Prince also suffered significant loss of consortium with her

husband Spencer L. Prince throughout this time and will continue to suffer these damages in

the future.

         185. WHBREFORE, Plaintiffs respectfully request that this Court enter judgment in

Plaintiffs' favor for compensatory and punitive damages, together with interest, costs herein

incurred, attorneys' fees, and all such other and further relief as this Court deems just and

proper. Plaintiffs also demand a jury trial on the issues containedherein.



                                               COUNTIV
                                       BREACH OF EXPRESS
                                        WARRANTY
         186. Plaintiff incorporates by reference each and every allegation set forth in this

Complaint as if fully stated herein.

         187. At all times relevant to this litigation, Defendant engaged in the business of

testing, developing, designing, manufacturing, marketing, selling, distributing, and promoting

its Roundup® products, which are defective and unreasonably dangerous to consumers,


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including Plaintiff, thereby placing Roundup® products into the stream of commerce. These

actions were under the ultimate control and supervision of Defendant.

         188. At all times relevant to this litigation, Defendant expressly represented and

warranted to the purchasers of its Roundup® products, by and through statements made by

Defendant in labels, publications, package inserts, and other written materials intended for

consumers and the general public, that its Roundup® products were safe to human health and

the environment, effective, fit, and proper for their intended use. Defendant advertised,

labeled, marketed, and promoted Roundup® products, representing the quality to consumers

and the public in such a way as to induce their purchase or use, thereby making an express

warranty that its Roundup® products would conform to the representations.

         189. These express representations include incomplete warnings and instructions

that purport, but fail, to include the complete array of risks associated with use of and/or

exposure to Roundup® and glyphosate. Defendant knew and/or should have known that the

risks expressly included in Roundup® warnings and labels did not and do not accurately or

adequately set forth the risks of developing the serious injuries complained of herein.

Nevertheless, Defendant expressly represented that its Roundup® products were safe and

effective, that they were safe and effective for use by individuals such as Plaintiff, and/or that

they were safe and effective as agricultural herbicides. The representations about Roundup®,

as set forth herein, contained or constituted affirmations of fact or promises made by the seller

to the buyer, which related to the goods and became part of the basis of the bargain, creating an

express warranty that the goods would conform to the representations.

         190. Defendant placed its Roundup® products into the stream of commerce for sale

and recommended their use to consumers and the public without adequately warning of the


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true risks of developing the injuries associated with the use of and exposure to Roundup® and

its active ingredient glyphosate.

         191. Defendant breached these warranties because, among other things, its

Roundup® products were defective, dangerous, unfit for use, did not contain labels

representing the true and adequate nature of the risks associated with their use, and were not

merchantable or safe for their intended, ordinary, and foreseeable use and purpose.

Specifically, Defendant breached the warranties in the following ways:

               a       Defendant represented through its labeling, advertising, and marketing

                       materials that its Roundup® ; products were safe, and fraudulently

                       withheld and concealed information about the risks of serious injury

                       associated with use of and/or exposure to Roundup® and glyphosate by

                       expressly limiting the risks associated with use and/or exposure within

                       its warnings and labels; and

               h       Defendant represented that its Roundup® products were safe for use

                       and fraudulently concealed information that demonstrated that

                       glyphosate, the active ingredient in Roundup®, had carcinogenic

                       properties, and that its Roundup® products, therefore, were not safer

                       than alternatives available on the market.

         192. Monsanto's warranties and representations, as described herein, concerning the

qualities of Roundup® products, became a basis of the bargain for Plaintiff's purchases of

Roundup® products.

       193.    On information and belief, Plaintiff justifiably and detrimentally relied on the

express warranties and representations of Defendant in the purchase and use of its Roundup®

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products. When Plaintiff made the decision to purchase Roundup®, he reasonably relied upon

Defendant to disclose known defects, risks, dangers, and side effects of Roundup® and

glyphosate.

        194.    Defendant had sole access to material facts concerning the nature of the risks

associated with its Roundup® products as expressly stated within its warnings and labels, and

Defendant knew that consumers and users such as Plaintiff could not have reasonably

discovered that the ri.sks expressly included in Roundup® warnings and labels were inadequate

and inaccurate.

        195.    Plaintiff had no knowledge of the falsity or incompleteness of Defendant's

statements and representations concerning Roundup®.

        196.    Plaintiff used and/or was exposed to the use of Roundup® as researched,

developed, designed, tested, formulated, manufactured, inspected, labeled, distributed,

packaged, marketed, promoted, sold, or otherwise released into the stream of commerce by

Defendant.

        197.    Had the warnings and labels for Roundup® products accurately and adequately

set forth the true risks associated with the use of such products, including Plaintiff's injuries,

rather than expressly excluding such information and warranting that the products were safe

for their intended use, Plaintiff could have avoided the injuries complained of herein.

        198.    As a direct and proximate result of Defendant's wrongful acts and

omissions, Plaintiff has suffered severe injuries. Plaintiff has endured pain and suffering, has suffered

economic losses (including significant expenses for medical care and treatment), and will continue to

incur these expenses in the future.

        199.    Plaintiff Tamara Prince also suffered significant loss of consortium with her


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husband Spencer L. Prince throughout this time and will continue to suffer these damages in

the future.

       200.    WHEREFORE, Plaintiffs respectfully requests that this Court enter judgment

in Plaintiffs' favor for compensatory and punitive damages, together with interest, costs, herein

incurred, attorneys' fees, and all such other and further relief as this Court deems just and

proper. Plaintiffs also demand a jury trial on the issues containedherein.

                                        COUNT V
                             BREACH OF IMPLIED WARRANTY OF
                                 MERCHANTABILITY

       201.    Plaintiff incorporates by reference each and every allegation set forth in this

Complaint as if fully stated herein.

       202.    At all times relevant to this litigation, Defendant engaged in the business of

testing, developing, designing, formulating, manufacturing, marketing, selling, distributing, and

promoting its Roundup® products, which are defective and unreasonably dangerous to users

and consumers, including Plaintiff, thereby placing Roundup® products into the stream of

commerce. These actions were under the ultimate control and supervision of Defendant.

       203.    Before the time that Plaintiff was exposed to the use of the aforementioned

Roundup® products, Defendant impliedly warranted to its consumers and users—including

Plaintiff and Plaintiffs employers—that its Roundup® products were of inerchantable quality

and safe and fit for the use for which they were intended; specifically, as horticultural

herbicides.

       204.    Defendant, however, failed to disclose that Roundup® has dangerous

propensities when used as intended and that the use of and/or exposure to Roundup® and

glyphosate- containing products carries an increased risk of developing severe injuries,


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including Plaintiff'sinjuries.

        205.     Upon information and belief, Plaintiff reasonably relied upon the skill, superior

knowledge, and judgment of Defendant and upon its implied warranties that the Roundup® products

were of inerchantable quality and fit for their intended purpose or use.

        206.     The Roundup® products were expected to reach and did in fact reach consumers

and users, including Plaintiff, without substantial change in the condition in which they were

manufactured and sold by Defendant.

        207.     At all times relevant to this litigation, Defendant was aware that consumers and

users of its products, including Plaintiff, would use Roundup® products as marketed by

Defendant, which is to say that Plaintiff was the foreseeable user ofRoundup®.

        208.     Defendant intended that its Roundup® products be used in the manner in which

Plaintiff in fact used them and Defendant impliedly warranted each product to be of

merchantable quality, safe, and fit for this use, despite the fact that Roundup® was not

adequately tested or researched.

        209.     In reliance upon Defendant's implied warranty, Plaintiff used Roundup® as

instructed and labeled and in the foreseeable manner intended, recommended, promoted and

marketed by Defendant.

        210.     Plaintiff could not have reasonably discovered or known of the risks of serious

injury associated with Roundup® orglyphosate.

        211.     Defendant breached its implied warranty to Plaintiff in that its Roundup®

products were not of inerchantable quality, safe, or fit for their intended use, or adequately tested.

Roundup® has dangerous propensities when used as intended and can cause serious injuries,

including those injuries complained of herein.



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       212.    The harm caused by Defendant's Roundup® products far outweighed their

benefit, rendering the products more dangerous than an ordinary consumer or user would

expect and more dangerous than alternative products.

       213.    As a direct and proximate result of Defendant's wrongful acts and omissions

Plaintiff has suffered severe and permanent physical and emotional injuries. Plaintiff has

endured pain and suffering, has suffered economic loss (including significant expenses for

medical care and treatment) and will continue to incur these expenses in the future.

       214.    Plaintiff Tamara Prince also suffered significant loss of consortium with her

husband Spencer L. Prince throughout this time and will continue to suffer these damages in

the future.

       215.    WHEREFORE, Plaintiffs respectfully request that this Court enter judgment in

Plaintiffs' favor for compensatory and punitive damages, together with interest, costs herein

incurred, attorneys' fees, and all such other and further relief as this Court deems just and

proper. Plaintiffs also demand a jury trial on the issues contained herein.




        WHEREFORE, Plaintiff requests that the Court enter judgment in his favor and

against Monsanto, awarding as follows:

        A.     compensatory damages, including loss of consortium, in an amount to be proven
               at trial;

        B.     punitive damages;

        C.     costs including reasonable attorneys' fees, court costs, and other

               litigation expenses; and

       D.      any other relief the Court may deem just andproper.



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                                      JURY DEMAND

      Plaintiffs hereby demand trial by jury and tender herewith the statutory jury demand fee.



      DATED this 19th day of October, 2020.

                                           KELLY H. MACFARLANE, PLLC.


                                           /s/Kelly H. Macfarlane

                                           Kelly H. Macfarlane

Plaintiff Address:

Spencer L. Prince
1629 South 150 West
Kaysville, UT 84037




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